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A 0 I 4 i U ( I h 06105) Shcc.~1 - Judgment in a Criminiil Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       T A U P A DIVISION




U N K E D STATES OF AMERICA                                     JUDGMENT            A CIUMLNAL CASE

                                                                CASE NUMBER: 8:07-~1-495-T-30TG\\~
                                                                USMNUMBER: 49638-018
I'S.




JOSE TEJEDA
                                                                Defendant's Attorney; Dionja Dyer. pda

THE DEFENDANT:

-
X pleaded guilry to count(s) ONE oS the Second Superseding Indicmsnt.
- pleaded nolo conrenderc to cnunt(s) which was accepted by the court
-was found guilty on count(s) a r ~ e ar plea of not guilty.
TITLE 8L SEC TJON                   NATURE OF OFFENSE                            OFFENSE ENDED                      COUNT

18 U.S.C. b ?'I                     Conspiracy lo Comrmr Oflenses                 December 1 9 : 2007                 One


         The defendant is sentenced as provided in pages 2 through 6 ofthisjudgment. The sentence is imposed pursuant 10(be Sentencing
Reform Act of 1984.

- The defendant has been found not guilty on counr(s)
-
X Count(s) ONE of h e Indichnent and Count ONE of rhc Firsr Superseding Indictment are dismissed on the rnorion of the United States.

IT IS FURTHER ORDERED that thc dcfcndant must no~ifvthe Uni1t.d States Attorney for this disuict within 30 days of any change o f
name, residence. or mailing address until all fines. restitution. costs. and special assessments imposed by [his judgment are fully paid.
If ordered to pay tcsti~urion,the defendan1 musl notify the courl and Uni~edS ~ a l e sAttorney of any malerial change in economic
circumslances.


                                                                                 Dare o f Imposi(ion oFSenrence: July 10. 2008




                                                                                 U ~ E STATES
                                                                                        D     DISTRICT JUDGE


                                                                                 DATE: l u l y   / / ,2008
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                             -
A 0 2458 (Rev 06/05) Shm 2 Imprisonment (Judgment in a Criminal Case)
Defendant:         JOSE TEJEDA                                                                      Judgment - Page 2_ of &
Case No.:          8:07-cr495-T-30TGW




              A f t e r considering the advisory sentencing guidelines and nll of t h e factors identified in Title 18 U.S.C. $5
3553(a)(l)-(7), t h e court finds that the sentence imposed is sufficient, but not grcater than necessary, to compl?l with
t h e s t a t u t o q r purposcs of sentencing.


         The defendant is hereby committed to the custody of the United Sta tes Bureau of Prisons to be imprisoned f o r
a total term of TWELVE (12) MONTHS and ONE (1) DAY as to Count Onc of the Second Superseding Indictment.




-The court makes the following recommendations to the Bureau of Prisons:
-
X The d h d a n t Is mandcd to the custody of the United Srares Marshal.
-The defendant shall sumdw to the United          Marshal for this district
                                             Statcs

       -at -am&m on ,
       -as notified by the h i t & States Marshal.
-The defendant shalt surrenderfor d c e of sentence ar Ihe instirution designated by the R   u rc.\cl o f I'n suns

       -before 2 p.m. on -.
       -as notified by the United States Marshal.
       -as notifiedby the Prabation or Pteeial Servics Oftice.

                                                                  RETURX
          I have executed rhis judgmenr as follows:




          Dcfendan~delivered on                                         to
- at                                                              . with a certified copy of this judgment.

                                                                             United States Marshal

                                                                   By:
                                                                                       Deputy United States Marshal
       Case 8:07-cr-00495-JSM-TGW Document 150 Filed 07/11/08 Page 3 of 6 PageID 369
A 0 1158 (Rev. 06/05) Sheet 3 - Supeniscd Relmsc (Jud-mwnr in a Cnniinal C x e )

Defendant:                JOSE TEJEDA                                                                                                  Judgment - Pagc 3of 6 _
Case g o . :              8:07-ci-495-T-IOTGW
                                                                            SUPERVISED RELEASE

       U p o n release from imprisonment, the defendant shall be on s u p c ~ i s e drelease for a term of 'THREE (3) YEAJ2.S as to
Count One of thc Second Superseding Indictment.

         The defendant musl report ro the probation olfice in the district to which h e defendant is released within 72 hours of release from
the custody of the Bureau of Prisom.

The defendanl shall not comrmr another fedcral, stale, or local crlmt 1 he &i,nclmr \hall not unlawfully poasess a c o n u l ~ l l ~-ubstancs
                                                                                                                                     d
The defendanr shall ~ e f r a mfrom any unla~v€uluse of a contn\lled \uh-umc. I IIL ilcfcndant ,hall subm~tto one drug      is 1rl11n 15 days
oErclca\e horn mpnsonment and at leak1 two penod~cdrug t c \ t x r l ~ ~ r c d .t.t ~dtwmimed
                                                                                     r        by the court.

Y         The above drug resting condition is suspended. based on the court's derermination that the defendan1 poses a Icon r i ~ kcrifuture
          substance abuse.

          The defendanr shall no1 possess a fuearm, destructive deuce, or any other dangerous weapon

          I h e defendant shall cooperate in the collecrion of DNA as directed by the probaiion officer.

           Ifthis judgment impose!: a finc or restitu~ionit is a condition of supervised release that the defendant pap in accordance with rhe
           S~hctlulcof Payments sheet of h i s ludgn~ent.

           The kfendant must comply with the atandard conditions that have been adopted by this coun as well as wirh any additional
           conditions on thc atrached page.

                                                         STANDARD CONDITlONS OF SUPERVISION
           [he defendnnr shall nor Imvc rhcludicial d~stncrwirhouh the permission o f rhc coun or probation officer:

           rhc dcfendaur shall rcport to tlis probarion oficcr AIL!
                                                                  .li:!ll <ulllnir .I rt.ililitirl and conlplcte written repun wiihin rhc tirsr 5vc days of each
           ~nontli:

           t h e defendant shall answer truthfully . ~ l l i l l q ~ ~ i r i c1), ,    ilic   p~-~,~!>~:l~:ri
                                                                                                      11f5i.i.r-ilnd
                                                                                                                   follow the instn~crionsot'rhc probation ofificer:

           the defcndanr shall support his or her JqcnJi-;;I:,                     ~ l i c i ~ i c cirlrcr
                                                                                                   c~      I~riiil;,   i-esponsibilirics:




           the defendant shall refrain l i , ~ v i c\cch.i\c
                                                   l              d , ~ .I ~ T~ I c i d i ~~* j i . ! l~~ I i Ii ! I I I jwi~li~i-r~..
                                                                                                                                   P O . I S ~ Z Suse,
                                                                                                                                                  ,    dislributc. or admin~sterany con~rolled
           <ubstanceor any pa~phcrri.r!~.i       s~!:~ri-J1 , s .III! i<,ilrr~~!icd       , ~ ~ h . i . ~ ~ i i i .e\;~,pt
                                                                                                                     ,.      .i, p'cxribed by a physician;


           the derendant shall noi frequer~tplaces wlicrc conrrolled suhiwnce<xi: illegally sold, used, dis~ribuled.or ,iciininisterecl,




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A 0 2453 (Rev.06/05] Sheer 3C - SupervisedRelease (Judgment in o Criminal Case)

Defendant:        JOSE TEJEDA                                                                               -
                                                                                                      Judgment fage 4of 6
Case No.:         8:07-cr-495-T-30TGW
                                       SPECIAL CONDITlONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


-
X        Should the defendant be deported, he/she shall not be allowed to re-enter the United States without the express permission of
         the appropriate govemmentd authority.

-
X        The defwdant shall cooperate in the collecdon of DNA as directed by the probation officer,
S
-        The mandatory drug testing provisions pmuant to the Violent Crime Control Act are waived However. the Court orders the
         probation officer to conduct d   m drug testing not to exceed 104 tests per year,
      Case 8:07-cr-00495-JSM-TGW Document 150 Filed 07/11/08 Page 5 of 6 PageID 371
A 0 M5B (Rev 06/05]Sheer 5 - Cr~niina
                                    l Monetary Penalties (Judgment in a Criminal Casel

Defendant:          JOSE TEJEDA                                                                   Judgment - Page 5 of 6
Case NO.:           8:07-cr495-T-IOTGW

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monelary penalties under the schedule of payments on Sheet 6.
                             Assessment                                Fine                       Total Restitution

          Totals:                                                      Waived


          The determinaiion orrestil-uiion i s deferred uniil   -,

          be enrered after such deteminatron.
          The defendant must make restitution (including cotnrnuniry restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each p!cc h h 1 1 I r s i r i \ r a n approximately proportioned payment. ur~lrss
          specified otherwise in rhe pnonty order o r p r r c r n t r ~ ~pa!mt.nt
                                                                          e       column below. However, pursuant to IS L'..';.Ci. $
          3664(i). all non-rcderal vlcrlms must be paid brfcrc rhc I nilcci S~sres.


 Name o f Pavee                                Total Loss"                      Restitution Ordered




                             Totais:

          Restitution amount ordered pursuant to plea agreement %
          The defendant must stay interest on a Tine or restitution of more than $2,500, unless the restitution or fine is paid m full
          before h e fifieenth l ay afier the date of the judgment, pursuant to 18 U.S.C. $ 36 1>(I). All of the payment options on Shccl
          G may be subject to penaIties for delinquency and default. pursuant to 18 U.S.C. 9: 3612(g).

          The coun determined that che dekndant does nor have the abiliy to pay intercst and il is ordered that:

         -          the merest requirement is waived for the            tine       rcstirution.
                    the interest requirement for d x - fine          - restitution i~ modified as I'ollows:


 Findings for tlic lotal amounr of losses are required under Chapters 109A. 110, 1 1OA, and 1 13A o f Title 1 8 for the offenses committed
on or after September 13. 1991; but before April 23. 1996.
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A 0 2450 (Rev 06/05)Sheet 6 - Schedule of Paymcn~s(Judgment in a Criminal Case)

Defendmk           JOSE TEJEDA                                                                           l udgment - Page 6of 6
Case No.:          8:07-cr-495-T-30TGW


                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

         -&        Lump sum payment of $ 100.00 due immediately. balance due
                             -not later than                  . or

                             -in accordance - C. - D, - E or - F below; or
                   Payment to begm immechateiy (may be combined with -C,                         D, or -F below); or
                   Payment in qua1                  (e.g., weekly, monthly, quarterly) installments of $                       over a period
                   of         (e.g,, months or years), to commence            days (e-g, 30 or 60 days)-e                        date of this
                   judgment; or
         -
                   Payment ,.?:
                           in
                                               (e.g., weekly, monthly, quarterly) instailments of $
                                      month. or years) to commence
                   rmprisonment to a term of supervision; or
                                                                                                              over a period of
                                                                                       (eg. 30 or 6 m d a y s ) e rrelease fiom

                   Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
         -         Special instructions regarding the payment of criminal monetary penal ties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penaIties is due during irn risonment. All criminal monetary penalties, except those aytnents made through the Federal
                              5
Bureau of Prisons'Inmate inancial Responsibility Program, are made to the clerk o f t e court.      R
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
        Defendant and Co-Defendaot Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and correspondingpayee, if appropriate:


         The defendant shall pay the cosr O F prosecution
         -
          1 he defendant shall pay the following court cost(s):

         Tke defendant shall forfeit the defendant's interest in the following property to h e United Sratcs:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture. which are in the possession or con~rolof the defendant or the defendant's
nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) resurution interest, (4) line principal, ( 5 )
fine interest. (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
